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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE


  IVAN M. SUZMAN,                               )
                                                )
         Plaintiff                              )
                                                )
                                                )   Civil No. 05-192-P-S
         v.                                     )
                                                )
  ADOLPH CRISP, et al.,                         )
                                                )
         Defendants                             )


                ORDERS AND RECOMMENDED DECISION ON
          CASA AGAPE MINISTRIES, INC.'S MOTION (DOCKET NO. 41)

         In his complaint Ivan Suzman relates that he has advanced Young-Onset

  Parkinson's Disease and complains of the defendants' fraud and deceit apropos their 'care'

  of him after he sought help in the wake of a personal crisis. Defendant Rayella Booton-

  Brown has filed a pleading on behalf of Defendant Casa Agape Ministries, Inc. adopting

  motions filed by Booton-Brown (Docket No. 27) and Defendant Adolph Crisp (Docket

  No. 34.) "[A] corporation may appear in the federal courts only through licensed

  counsel." Rowland v. California Men's Colony, Unit II Men's Advisory Counsel, 506

  U.S. 194, 202 (1993) (citing Osborn v. President of Bank of United States, 9 Wheat. 738,

  829 (1824)). Therefore, I DENY Casa Agape Ministries, Inc.'s adoptive motion to strike,

  motion for a more definite statement, and motion to quash, and I RECOMMEND that

  the court DENY its motions to dismiss. In my order on Booton-Brown's motion for an

  extension of time to file an answer, I have granted all defendants until September 1, 2006,

  to file their answers. Casa Agape Ministries, Inc. must file its answer, and all further
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  pleadings, through licensed counsel and in accordance with the District of Maine Local

  Rules.

                                              NOTICE

                   A party may file objections to those specified portions of a
           magistrate judge’s report or proposed findings or recommended decisions
           entered pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by
           the district court is sought, together with a supporting memorandum,
           within ten (10) days of being served with a copy thereof. A responsive
           memorandum shall be filed within ten (10) days after the filing of the
           objection.

                    Failure to file a timely objection shall constitute a waiver of the
           right to de novo review by the district court and to appeal the district
           court’s order.

  July 12, 2006.
                                                   /s/ Margaret J. Kravchuk
                                                   U.S. Magistrate Judge




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